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                         IN THE UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF ARKANSAS
                                 FAYETTEVILLE DIVISION


     UNITED STATES OF AMERICA                                             PLAINTIFF

     v.                    Criminal No, 5:08CR50007-001 - 004

     ARTURO REYES, JR.;
     SILVIA REYES;
     ARMANDO REYES; and
     LUCILA HUARACHA                                                     DEFENDANTS




                                        O R D E R

           There is presented to the court the Motion to Modify Bond

     Conditions of separate defendant Silvia Reyes [document no. 92].

     The court, after review and consideration and after having been

     advised that the government has no objection, finds that the

     Motion should be granted and that defendant’s conditions of

     release    should     be   modified   to    remove    home    detention     with

     electronic monitoring.       Further, the court imposes a curfew from

     9:00 p.m. until 6:30 a.m. All other conditions of release, unless

     specifically modified by this order, remain in full force and

     effect.

           SO ORDERED this 4th day of June 2008.




                                                 /s/ J. Marschewski
                                                 HONORABLE JAMES R. MARSCHEWSKI
                                                 UNITED STATES MAGISTRATE JUDGE
